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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

LONE STAR TECHNOLOGICAL            §
INNOVATIONS, LLC,                  §
                                   §   Civil Action No. 6:19-cv-00059-RWS
       Plaintiff,                  §
                                   §             LEAD CASE
               v.                  §
                                   §
ASUSTEK COMPUTER, INC.             §
                                   §
       Defendant.                  §
                                   §

         PLAINTIFF LONE STAR TECHNOLOGICAL INNOVATION, LLC’S
                  OPENING CLAIM CONSTRUCTION BRIEF




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 Exhibit No.                                      Exhibit Name
     1                                         U.S. Patent 6,724,435
     2          Court’s Proposed Constructions in Lone Star Technological Innovations, LLC
                 v. Acer, Inc., et al., Case No. 6:15-cv-973-JRG-JDL Acer preliminary claim
                                                    construction
      3                               Declaration of Robert Stevenson, Ph.D.
      4                        Deposition Transcript of Robert Stevenson, Ph.D.
      5        Adobe Sys. Inc., Matching RGB Color from Monitor to Printer, Technical Note
                                           #5122, at 5-6, Feb. 14, 1992




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                                    I.      INTRODUCTION

       Plaintiff Lone Star Technological Innovations, LLC (“Plaintiff” or “Lone Star”) alleges

that Defendants AsusTek Computer Inc. and Barco N.V. (“Defendants”) infringe one or more

claims of U.S. Patent No. 6,724,435 (the “’435 patent” or the “Patent-in-Suit”). A true and correct

copy of the ’435 patent is attached as Exhibit 1.

                               BACKGROUND OF THE PATENT

       The ’435 patent describes a system and method for selecting and adjusting an individual

color in a real time digital video image (i.e., changing the hue or saturation of a selected individual

color) without affecting other colors. Prior to the patented invention, one was only able to adjust

the hue or saturation of all colors in a digital video image—not just an individual color. The Patent-

in-Suit solves this problem with a claimed system and method of independent color control of a

real time digital video image that allows a change in hue or saturation of an individual color

without affecting other individual colors. Please see Plaintiff’s Technical Tutorial for additional

information.

                        PRIOR CLAIM CONSTRUCTION HEARING

       Previously, on November 10, 2016 this Court conducted a Markman hearing concerning

claim construction for terms in the ’435 Patent (as well as another asserted patent, U.S. Patent

6,122,012, not asserted in this matter) in the matter styled Lone Star Technological Innovations,

LLC v. Acer, Inc. et al., No. 6:15-cv-00973-JRG-JDL (E.D. Tex. 2015). At that hearing, the

Honorable Judge Love issued preliminary constructions. A true and correct copy of these

preliminary constructions is attached as Exhibit 2.

                II.     LEGAL PRINCIPLES OF CLAIM CONSTRUCTION

       Claim construction is the first step in any infringement or validity analysis. See Markman

v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995), aff’d, 517 U.S. 370 (1996). A


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district court should construe the claims in light of their explicit language as informed by their

preambles, as well as the patent’s specification, figures, and prosecution history. See Id. at 980;

see also Graham v. John Deere Co., 383 U.S. 1, 33 (1966).

        The specification is the “best source for understanding a technical term,” to be

supplemented, “as needed, by the prosecution history.” Phillips v. AWH Corp., 415 F.3d 1303,

1315 (Fed. Cir. 2005) (quoting Multiform Desiccants, Inc. v. Medzam, Ltd., 133 F.3d 1473, 1478

(Fed. Cir. 1998)). The prosecution history represents key evidence of how the examiner and the

inventor construed the patent. See Lemelson v. Gen. Mills, Inc., 968 F.2d 1202, 1206 (Fed. Cir.

1992). Claims should generally be interpreted in a manner consistent with other claims, as well

as with the prosecution history. See, e.g., Bell Howell Document Mgmt. Prods. Co. v. Altek Sys.,

132 F.3d 701 (Fed. Cir. 1998).

        It is improper to confine a claim to a particular embodiment; the claim language itself is

paramount. See, e.g., Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363, 1370 (Fed. Cir. 2008);

accord Phillips, 415 F.3d at 1325 (favoring plain and ordinary meaning of the claim language over

importing limitation from the preferred embodiment). Extrinsic evidence may also be relevant to

claim construction. See Phillips, 415 F.3d at 1317. Such evidence consists of all evidence extrinsic

to the patent and its prosecution history, including “expert and inventor testimony, dictionaries,

and learned treatises.” Id. (internal quotation omitted). While authorizing examination of extrinsic

evidence, the Federal Circuit has warned that while it “can shed useful light on the relevant art,”

it is “less significant than the intrinsic record in determining the legally operative meaning of claim

language.” Id.

        The definiteness requirement of 35 U.S.C. § 112 “require[s] that a patent’s claims, viewed in

light of the specification and prosecution history, inform those skilled in the art about the scope of the

invention with reasonable certainty.” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910


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(2014). A party seeking to invalidate a patent must overcome a presumption that the patent is valid.

See 35 U.S.C. § 282; Microsoft Corp. v. i4i Ltd. Partn’p, 564 U.S. 91, 97 (2011); United States Gypsum

Co. v. National Gypsum Co., 74 F.3d 1209, 1212 (Fed.Cir.1996). This presumption places the burden

on the challenging party to prove the patent's invalidity by clear and convincing evidence. Microsoft,

564 U.S. at 97; United States Gypsum Co., 74 F.3d at 1212. Close questions of indefiniteness “are

properly resolved in favor of the patentee.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342,

1348 (Fed.Cir.2005); Exxon Research & Eng’g Co. v. United States, 265 F.3d 1371, 1380

(Fed.Cir.2001). It is defendant’s burden to prove indefiniteness and a defendant must “show by clear

and convincing evidence that a skilled artisan could not discern the boundaries of the claim based

on the claim language, the specification, and the prosecution history, as well as her knowledge of

the relevant art area.” Haemonetics Corp. v. Baxter Healthcare Corp., 607 F.3d 776, 783

(Fed.Cir.2010).

                      III.   LEVEL OF ORDINARY SKILL IN THE ART

          Lone Star submits that a person having ordinary skill in the art would have had at least a

bachelor’s degree in electrical engineering, computer science, applied mathematics, or an

equivalent field, in addition to at least two years of industry experience in digital video system

design.

          IV.     PLAINTIFF’S PROPOSED CONSTRUCTION OF CLAIM TERMS

          A.     “INDIVIDUAL COLOR”

    Term to be Construed              Lone Star’s Proposed           Defendants’ Proposed
                                           Construction                  Construction
 “individual color”                 A linear combination of       a linear combination of
                                    colors or color components    colors or color components.
 ’435 Patent, Claims 1, 2, 10,      such as red, green, blue,
 11, 13-18, 26, 27, and 29-32       yellow, cyan and magenta.




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       The parties agree that “individual color” means “a linear combination of colors or color

components,” but dispute whether “such as red, green, blue, yellow, cyan and magenta” should be

included in the construction. The ’435 Patent specification defines “individual color” as a “linear

combination of color or color components, such as red, green, blue yellow cyan and magenta.”

’435 Patent, 1:19-22. The patentee has set forth a definition of the claim term with an intent to

define it. See Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012).

Additionally, this Court previously agreed with Lone Star and construed “individual color”

according to its proposed construction.

       Further, and of particular note, is the ’435 Patent specification describing the use of red as

an individual color of an input image pixel selected to be changed:




’435 Patent, 10:25-32. The specification discloses a formula which is used to identify image pixels

containing “the individual color…whose hue or saturation was selected to be independently

changed.” ’435 Patent, 10:18-20. This particular reference identifies “red, R, as the individual

color whose hue or saturation was selected to be independently changed….” ’435 Patent, 10:28-

30. This confirms the colors and color components of the claimed invention include such colors

“as red, green, blue, yellow, cyan and magenta.” Indeed, Defendants’ expert concedes red, green,

blue, yellow, cyan, and magenta are “an example [of] a linear combination of colors or color

components” and “not inconsistent” with Defendants’ proposed definition of this term. Ex. 4,

55:21-56:27.


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       The Court should adopt Lone Star’s construction of “individual color.” Not only does the

‘435 specification provides its own lexicographical definition, but also this Court has already

preliminarily agreed to it. Moreover, the inclusion of “such as red, green, blue, yellow, cyan and

magenta” will aid the jury, by providing an example of an individual color or color component

that is consistent with the specification. Defendants present no evidence as to why the addition of

these specific examples is improper or incorrect especially in light of the specification and previous

preliminary construction.

       B.       “CHARACTERIZING”

    Term to be Construed            Lone Star’s Proposed              Defendants’ Proposed
                                         Construction                      Construction
 “characterizing”                  Not indefinite.               This term is indefinite under 35
 ’435 Patent, Claim 1                                            U.S.C. § 112(2).
                                   Plain and ordinary
                                   meaning

                                   Or, in the alternative:

                                   Specifying


       Defendants assert that “characterizing” as contained in ’435 Patent, claim 1 is indefinite.

It is not and in its preliminary constructions, this Court agreed the term is not indefinite. Exhibit

2 at 4. Contrary to Defendants’ argument, the ‘435 Patent provides sufficient guidance for a person

having ordinary skill in the art to understand the meaning of the term. A claim is indefinite only

if the claim, “read in light of the specification delineating the patent, and the prosecution history,

fail[s] to inform, with reasonable certainty, those skilled in the art about the scope of the

invention.” Nautilus, 572 U.S. at 901.


       “Characterizing” is found in the first step of Claim 1 of the ’435 Patent:




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               1. A method for independently controlling hue or saturation of individual colors

               in a real time digital video image, comprising the steps of:

               (a) receiving and characterizing the real time digital video input image featuring

               input image pixels;


The specification explains:

       Different formats are used for characterizing colors or color components in real time digital
       video images. In one format, real time digital video images feature colors or color
       components characterized by linear combinations of the basic colors red, green, and blue,
       in RGB color space. In another format, real time digital video images feature colors or
       color components characterized by linear combinations of the basic colors yellow, cyan,
       and magenta, in YCM color space. In still another format, real time digital video images
       feature colors or color components characterized by linear combinations of the chromatic
       parts, Cr and Cb, also known in the art as U and V, respectively, in YCrCb or YUV
       luminance/chromatic color space, respectively.

       ’435 Patent, 1:42-54 (emphasis added).         Thus, this claim term does not warrant

construction because it is readily understood by one of skill in the art and Defendants cannot show

any lack of “reasonable certainty.” Nautilus, 572 U.S. at 910; see Sonix Tech. Co., Ltd. v. Publ’ns

Intl., Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017) (“Indefiniteness must be proven by clear and

convincing evidence.”). Additionally, even if it does warrant construction, a person of ordinary

skill in the art, reviewing the claims and the intrinsic record, would understand that

“characterizing” as contained in claim 1 of the ’435 Patent, means specifying (i.e. specifying the

format (e.g. RGB, YCrCb, etc.) of the real time digital video input image). This understanding is

consistent with the claims and as described in the specification.

       Defendants’ expert opined that "the ’435 Patent provides no guidance as to what is meant

by ‘characterizing’ as a step performed in a method.” Stevenson Dec., ¶ 25.         Their expert is

wrong. Several portions of the specification that describe how a real time digital video input image

is characterized. See e.g. Col. 1, Lns. 42 – 50. Despite considerable specification support to the


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contrary, Stevenson declares that: “With regards to characterizing a real time digital input image,

the specification states only:

       In Step (a) of the method of the present invention, there is receiving and characterizing a
       real time digital video input image. Preferably, there is receiving a real time digital video
       input image, I, featuring colors or color components characterized by linear combinations
       of the basic colors red, green, and blue, in RGB color space, whereby the real time digital
       video input image, I, features basic colors red, green, and blue, and, complementary colors
       yellow, cyan, and magenta, in the RGB color space featuring a color based three-
       dimensional coordinate system.’435 Patent at 6:40-50.” Exhibit 3, Stevenson Dec. at 9.

       This opinion, however, haphazardly overlooks numerous specification examples that

describe characterizing a real time digital input image, which feature color or color components,

for example:

       the following description particularly refers to real time digital video images featuring
       colors or color components characterized by linear combinations of the basic colors red,
       green, and, blue, in RGB color space, which are used for defining and evaluating the
       complementary colors or color components yellow, cyan, and magenta, in the RGB color
       space, in order to illustrate implementation of the present invention. The method of the
       present invention is applicable to other formats of real time digital video images featuring
       colors or color components characterized by individual colors or color components in other
       types of color space, such as real time digital video images featuring colors or color as
       components characterized by linear combinations of the basic colors yellow, cyan, and
       magenta, in YCM color space, or, real time digital video images featuring color
       components characterized by chromatic parts, Cr and Cb, or, U and V, in YCrCb or YUV
       luminance/chromatic color space, by applying appropriate linear transformations between
       the RGB color space and the YCM, or, the YCrCb or YUV luminance/chromatic color
       space. ’435 Patent, 6:2-25.

The specification also introduces an embodiment instructing a person having ordinary skill in the

art that the digital video image can be “characterized” by RGB color space.

       Six cases of Step (c) are described, corresponding to the six colors or color components,
       red, green, blue, yellow, cyan, and, magenta, associated with the input image pixel Values,
       Rin, Gin, Bin, respectively, of input image pixels, I[ij: Rin, Gin, Bin], of the real time digital
       video input image, I, characterized by RGB color space. (emphasis added). ’435 Patent,
       9:51-57.

       Indeed, Defendants’ expert’s view that “characterization” is indefinite lacks merit in light

of the ‘435 specifications guidance. At his deposition, Defendant’s expert conceded that “in the


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claim, it was referring to the characterization of a digital image or video,” undermining the position

that there is any lack of “reasonable certainty.” Ex. 4, 32:25-33:5.

       Further, one of skill in the art would also find this use consistent with extrinsic references

to “characterization.” For example, “characterizing” is described as the following:




Exhibit 5, Adobe Sys. Inc., Matching RGB Color from Monitor to Printer, Technical Note #5122,

at 5-6, Feb. 14, 1992. This extrinsic reference supports the fact that a person of skill in the art

would understand “characterizing” to mean specifying.

       Thus, the claim term “characterizing” is not indefinite, because one of skill in the art would

be informed (as explained above) “about the scope of the invention with reasonable certainty,” in

light of the patent’s claims and the specification. Nautilus, 572 U.S. at 910.

       C.      “WITHOUT AFFECTING          THE   HUE    OR THE      SATURATION     OF   ANY OTHER
               INDIVIDUAL COLOR”

    Term to be Construed              Lone Star’s Proposed               Defendants’ Proposed
                                           Construction                       Construction
 “without affecting the hue or     without affecting the hue or     Ordinary meaning (incorporating
 the saturation of any other       the saturation of any other      the construction of “individual
 individual color”                 individual color, that was not   color”).
                                   selected to be changed
 ’435 Patent, Claims 1 and 17

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    Term to be Construed              Lone Star’s Proposed               Defendants’ Proposed
                                         Construction                        Construction



       In addition to the parties’ dispute as to the proper construction of “individual color”,

Plaintiff proposes that the phrase “without affecting the hue or the saturation of any other

individual color” (contained in claims 1 and 7 of the ’435 Patent) be construed to mean “without

affecting the hue or the saturation of any other individual color, that was not selected to be

changed.” This Court previously agreed with that construction. Exhibit 2 at 4.

       The thrust of the patented invention of the ’435 Patent is to overcome the problem in the

art of changing the hue or saturation of a color without changing the hue or saturation of all colors.

’435 Patent, 1:57-59. In order to effectuate this, the ’435 Patent teaches a method and system of

being able to select an individual color, “whereby the hue or the saturation of the selected

individual color in the real time digital video input image has been changed without affecting the

hue or the saturation of any other individual color in the real time digital video input image.” ’435

Patent, 3:41-49 (emphasis added). Indeed, the patent states that “a main aspect of novelty of the

present invention is that of enabling one to independently control, that is, to independently change

or adjust, by increasing or decreasing, hue or saturation of each individual color in a real time

digital video image, without affecting the hue or saturation of any other color in the same real time

digital video image.”    Id., 8:25-31.    Claim 1 of the ’435 Patent recites first “selecting to

independently change the hue or saturation of an individual color” (i.e. selecting an individual

color to change) and then concludes with “whereby the hue or the saturation of said selected

individual color in the real time digital video input image has been changed without affecting the

hue or the saturation of any other individual color in the real time digital video input image.”




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CONSTRUCTION BRIEF                                                                                  9
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Given that the claim requires “selecting” an “individual color”, then “any other individual color”

must mean an individual color that is capable of being selected, but not selected.

       Similarly, claim 17 of the ’435 also states: “whereby the hue or the saturation of said

selected individual color in the real time digital video input image has been changed without

affecting the hue or the saturation of any other individual color in the real time digital video input

image.” (emphasis added). Again, given that “individual color” is required to be capable of being

selected, then “other individual color” must also mean that which is capable of being selected but

was not selected. “[T]he person of ordinary skill in the art is deemed to read the claim term not

only in the context of the particular claim in which [it] appears, but in the context of the entire

patent, including the specification.” Phillips, 415 F.3d at 1313.

       D.      “ARBITRARY INTERVAL OF INTEGERS”

    Term to be Construed              Lone Star’s Proposed              Defendants’ Proposed
                                          Construction                       Construction
 “arbitrary interval of integers” a range between two whole         Ordinary meaning.
                                  numbers
 ’435 Patent, Claims 5 and 21


       The term “arbitrary interval of integers” as it occurs in claims 5 and 21 is best understood

in the context of its sister claim, dependent claim 6 of the ’435 Patent. Claim 6 recites: “The

method of claim 1, whereby in step (b), numerical range of said independent color hue control

delta value is an interval between -1 and +1.” ’435 Patent, claim 6. Claim 6 is directed to the

ability to control hue on a scale ranging from -100% to +100% (e.g. a “slider” control to change

the hue of a color, as found on a digital display or television, and that has a range from -100% to

100%). A person of skill in the art would understand from the differences between claim 6 and

claims 5 and 21 that, in contrast to claim 6 which is directed to a percentage scale ranging from -

100% to +100%, claims 5 and 21 are directed to a whole number scale. One of skill would


PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                 10
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therefore understand that “arbitrary interval of integers” means a range of any two whole numbers

(not fractions or percentages as claim 6 teaches) to control the hue of a color. A person having

ordinary skill in the art would understand to mean that the interval could be implemented as [-10

to 10], or [0 to 100], as long as the interval is a range of whole numbers.

       E.       “VIEWER”

    Term to be Construed              Lone Star’s Proposed               Defendants’ Proposed
                                          Construction                        Construction
 “viewer”                          Graphic user interface (GUI)     Indefinite – illustrates that
 ’435 Patent, Claims 17            menu display, configured on      method steps are performed by a
                                   a man-machine interaction        human as discussed below.
                                   (MMI) mechanism.


       Defendants seek a construction of “viewer” that is indefinite because it “illustrates that

method steps are performed by a human.” This is incorrect. A “viewer” is not indefinite and

should not be construed as a “human.” Moreover, the Court rejected the prior defendants’ similar

proposed construction of the term as “a person.” Exhibit 2 at 5. If construction is necessary, then

“viewer” is a “graphical user interface (GUI) menu display, configured on a man-machine

interaction (MMI) mechanism.”

       In multiple instances, the specification discusses a “viewer” disjunctively from a “user”

and makes clear that a “viewer” and a human “user” are not one and the same. See, e.g., ’435

Patent, 26:23 (“A user or viewer of a real time digital video image…”). Although the specification

makes a passing reference to a preferred embodiment as “the user or viewer pushing or turning,

the independent color hue control mechanism,” a distinction between a “user” and “viewer” is

made clear by other descriptions in the specification and to one of ordinary skill in the art.

       First, the specification attributes the acts of pushing or turning a control mechanism to the

“user,” when describing a human interaction with a physical button or dial: “For example, a user




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CONSTRUCTION BRIEF                                                                               11
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may desire to adjust the hue or saturation of only one color, such as red, green, blue, yellow,

magenta, or, cyan, of a real time digital video image displayed on a television screen, by pushing

or turning a color hue or color saturation or intensity control button or dial on a control device

associated with the television screen.” ’435 Patent, 1:63-2:2 (emphasis added). Second and more

importantly, in all other instances where a user or viewer is described as interacting with the color

control mechanism, it is clear from the context that the specification has grouped multiple possible

interactions by a user or a viewer together—including both (1) a human interaction with a physical

button or dial or (2) a viewer (GUI display) interaction with a man-machine interaction

mechanism—and “pushing and turning” [by a human user] is clearly intended to describe but only

one example of a possible interaction among many, including interactions by a viewer with a GUI:

“A user or viewer of a real time digital video image display device, such as a television screen,

selects to independently change hue, H, or, selects to independently change saturation, S, of an

individual color, clr ... by activating, such as by pushing or turning, an independent color hue

control mechanism, or, an independent color saturation control mechanism, such as a button,

dial, or graphic user interface (GUI) menu display, configured on a man-machine interaction

(MMI) mechanism featured as part of a master control device…” ’435 Patent, 26:21-37. In other

words, the limitation described by the specification is an operable way of “activating a… color[]

control mechanism,” and examples of that action include “such as” pushing or turning a button or

dial by a user or activating a GUI menu display by a viewer.

       The specific embodiment of a user pushing or turning a button or dial should not be read

into the claims. “Particular embodiments and examples appearing in the specification will not

generally be read into the claims.” Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1187

(Fed. Cir. 1998) (quoting Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed.




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CONSTRUCTION BRIEF                                                                                12
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Cir. 1988)); see also Phillips, 415 F.3d at 1323. “[I]t is improper to read limitations from a

preferred embodiment described in the specification—even if it is the only embodiment—into the

claims absent a clear indication in the intrinsic record that the patentee intended the claims to be

so limited.” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004). Instead,

Lone Star’s construction should be adopted which is rooted in the plain language of the claim.

Claim 17(c) states: “a viewer of said real time digital video image display device operating said

master control device for selecting to independently change the hue or the saturation of an

individual color in the real time digital video input image.” In this context, the ordinary artisan

would understand that the “viewer” is not a human, but a part of the system that controls the master

control device for a user to operate, such as a Graphic user interface (GUI) menu display,

configured on a man-machine interaction (MMI) mechanism. The specification confirms this

understanding that the viewer is a part of the system for the user or human to control:

       As an exemplary system for implementing the just described method of the present
       invention is described herein. A user or viewer of a real time digital video image display
       device, such as a television screen, selects to independently change hue, H, or, selects to
       independently change saturation, S, of an individual color, clr, such as red, green, blue,
       yellow, cyan, or, magenta, in the real time digital video input image, I, displayed on the
       real time video image display device, by activating, such as by pushing or turning, an
       independent color hue control mechanism, or, an independent color saturation control
       mechanism, such as a button, dial, or graphic user interface (GUI) menu display,
       configured on a man-machine interaction (MMI) mechanism featured as part of a
       master control device, such as a built-in master color controller device, or, a wireless
       remote master color controller device, in operative electronic communication with
       the real time video image display device.

Additionally, and according to claim 17, the viewer is operating the master control device, which

coincides to the specification disclosure.

       Specific ranges, and values, of hue and saturation of the individual colors or color
       components featured in the real time digital video input image are typically pre-determined
       or set according to design and manufacture of hardware and/or software of a particular real
       time digital video display device and associated equipment and peripherals, Such as a built-




PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                               13
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       in color controller, or, a wireless remote color controller, used for operating the particular
       real time digital video display device. ’435 Patent, 9:15-24.

Defendants’ expert bases his opinion on only one portion of the specification and provides no other

evidence to support his opinion. Stevenson Dec. at 40-41. The sheer paucity of Defendants’

evidence does not rise to the level of clear and convincing evidence.

       As discussed in more detail below, there are no method steps within system claim 17. The

claim discusses a system that uses functional language to describe its capabilities.             See

UltimatePointer, L.L.C. v. Nintendo Co., 816 F.3d 816, 828 (Fed. Cir. 2016) (“[T]he claims do not

reflect an attempt to claim both an apparatus and a method, but instead claim an apparatus with

particular capabilities.”); HTC Corp. v. IPCom GmbH, 667 F.3d 1270, 1273, 1277–78 (Fed. Cir.

2012) (distinguishing claims that “merely establish those functions as the underlying network

environment in which the mobile station operates”). Further, system or apparatus claims that use

functional language are “not necessarily indefinite.” Microprocessor Enhancement Corp. v. Texas

Instruments Inc., 520 F.3d 1367, 1375 (Fed. Cir. 2008); See also Biosig Instruments, Inc. v.

Nautilus, Inc., 783 F.3d 1374, 1382-84 (Fed. Cir. 2015). “If the functional language of the claim

merely describes the structure and capabilities of the claimed apparatus, then the claim is

sufficiently definite under 35 U.S.C. § 112 ¶ 2.” SFA Systems LLC v. 1-800-Flowers.com Inc.,

940 F.Supp.2d 433, 454 (E.D. Tex. 2013). It is clear from the context of the claim, read as a whole,

that the subject claim limitations describe capabilities of the system and do not include actions of

a user within its scope. The claim is directed to a system, not the users themselves. While users

may provide input to the system, that is not what is claimed. What is claimed is a system with a

non-human viewer component capable of the claimed functions. Such a system is definite. See

Nautilus, 783 F.3d at 1384 (finding as definite an apparatus claim that included functional

language describing how a claimed heart rate monitor is held by a user, calculates the user’s heart


PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                14
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rate, and displays the user’s heart rate). Defendant’s do not propose a construction of viewer, only

that the term is indefinite and “illustrates that method steps are performed by a human.”

       Here, the functional language describes the capability of the system.

       F.      “AS APPLIED TO CLAIM 17: THE COMBINATION OF METHOD STEPS AND SYSTEM
               ELEMENTS IN A SINGLE CLAIM: OPERATING SAID MASTER CONTROL DEVICE…;
               SELECTING AN INDEPENDENT COLOR HUE CONTROL DELTA VALUE OR AN
               INDEPENDENT COLOR SATURATION CONTROL DELTA VALUE…; IDENTIFYING A
               PLURALITY OF SAID INPUT IMAGE PIXELS…; DETERMINING CORRESPONDING
               OUTPUT IMAGE PIXEL VALUES…; DISPLAYING A REAL TIME DIGITAL VIDEO
               OUTPUT IMAGE…

    Term to be Construed              Lone Star’s Proposed               Defendants’ Proposed
                                           Construction                       Construction
 The combination or method         Not indefinite. Claim 17         Indefinite – A claim that “recites
 steps and system elements in      contains permissible             both a system and a method for
 a single system claim.            functional limitations that      using that system” is invalid as
                                   describe the system by           indefinite. IPXL Holdings,
                                   reciting its capabilities.       L.L.C. v. Amazon.com, Inc., 430
                                   MasterMine Software, Inc. v.     F.3d 1377, 1384 (Fed.Cir.2005).
                                   Microsoft Corp., 874 F.3d
                                   1307, 1313 (Fed. Cir. 2017).


       Defendants allege claim 17 is indefinite because a single claim that recites two separate

statutory classes of invention, (i.e. “an apparatus and a method of using that apparatus,”) is invalid

as indefinite under 35 U.S.C. § 112 ¶ 2. IPXL, 430 F.3d at 1384. “This Court and others have found

that the holding in IPXL is ‘very limited.’ Motion Games, LLC v. Nintendo Co., No. 6:12-CV-878-

JDL, 2015 WL 11170167, at *3 (E.D. Tex. Jan. 16, 2015), report and recommendation adopted,

No. 6:12-CV-878-RWS-JDL, 2015 WL 11170729 (E.D. Tex. Apr. 22, 2015) (citing Synqor, Inc.

v. Artesyn Technologies, Inc., No. 2:07–cv–497, 2010 WL 2991037, at *31 (E.D. Tex. July 26,

2010); see also Alexsam, Inc. v. Best Buy Stores L.P., No. 2:10-cv-93, 2012 WL 4894325, at *1

(E.D. Tex. Oct. 15, 2012). The problem with mixing apparatus and method steps is that such

mixed claims fail to clarify “whether infringement would occur when one creates a system that




PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                 15
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allows the user to [perform the step] ... or ... when the user actually [performs the step].” HTC,

667 F.3d at 1277. Here, there is no uncertainty about when infringement would occur, as it plainly

occurs when a system is created that can perform the claimed functions. Defendants’ will attempt

to argument that system claim 17 incorporates several method elements. However, each of the

verbs identified by Defendants describe the functional capabilities of the system and are tied to

specific structures. “A claim term is functional when it recites a feature ‘by what it does rather

than by what it is.’ (e.g., as evidenced by its specific structure or specific ingredients).” Manual

of Patent Examining Procedure § 2173.05(g) (9th ed. 2014) (citing In re Swinehart, 439 F.2d 210,

212, 169 USPQ 226, 229 (CCPA 1971)). Motion Games, 2015 WL 11170167, at *4, report and

recommendation adopted, No. 6:12-CV-878-RWS-JDL, 2015 WL 11170729 (E.D. Tex. Apr. 22,

2015). The system discloses specific structures, including a “video image display device” and a

“master control device,” described by functional language. The system is claiming the above

identified structures, which have the capability to perform certain steps. Claim 17 states:

       “whereby said real time digital video image display device in said operative electronic
       communication with said master control device performs steps including: (i) identifying…
       (ii) determining…; and (iii) displaying…”.

The system’s structures include a digital video image display device and a master control device

with the capability to perform the described functions. The digital video image display device in

operative electronic communication with the master control device has the capability of the (i)

"identifying…”, (ii) “determining…”, and (iii) “displaying…” functions. These steps do not

denote user actions, but defines a system for independently controlling hue or saturation of

individual colors in a real time video image. The verbs “identifying”, “determining”, and

“displaying” serve to recite components of the digital video image display device and master

control device. See Motion Games, 2015 WL 11170167 at *5 (“In fact, these types of claims which




PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                               16
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“describe what the apparatuses do, when used in a certain way,” have been specifically identified

as types of claims with functional limitations rather than method limitations. Yodlee, Inc. v.

CashEdge, Inc., No. 05–01550, 2006 WL 3456610, at *4–6 (N.D. Cal. Nov. 29, 2006) cited in

Alexsam, 2012 WL 4894325, at *1.”). The Court in Yodlee rejected the Defendant’s indefiniteness

argument because of subsection (b) of an apparatus claim, describing “upon activation of the

presented link, downloading an application to the client computer, wherein the downloaded

application upon execution on the client computer performs the steps of…”. The court reasoned

that “[t] claim describes what happens “upon activation of the presented link.” It does not seek to

patent activation of the link; it seeks only to patent a device which performs certain functions if

and when the link is activated. Infringement occurs when a device that has the capability of

performing the steps described under paragraph (b) is manufactured and sold. Whether a user

actually activates the link presented by the infringing device is of absolutely no import. Similarly,

the process initiated by activating the link need never take place. If the device presents such a link,

and activating such link would initiate the process described under paragraph (b), the device

infringes.” Yodlee, 2006 WL 3456610, at *4. Similarly, here, claim 17 describes what the claimed

system does when used in a certain way and not the use of the system itself. See id.

       The Federal Circuit has consistently approved using functional language to describe

capabilities of the system. Mastermine, 874 F.3d at 1316 (citing as examples of Federal Circuit

approval Microprocessor Enhancement Corp. v. Tex. Instruments Inc., 520 F.3d 1367 (Fed. Cir.

2008). In Microprocessor, the Federal Circuit found that a patent claim directed to a computer

processor with different stages, including “performing a boolean algebraic evaluation,” “producing

an enable-write,” later “enabling” or “disabling,” and, at a different stage, “determining,” was not

a mixed apparatus-and-method claim. Microprocessor, 520 F.3d at 1367. In HTC Corp. v. IPCom




PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                  17
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GmbH & Co., KG, 667 F.3d 1270 (Fed. Cir. 2012), the court found that a claim directed to a

“mobile station for use with a network” that recited “storing,” “holding,” and other functional

limitations was not indefinite. Finally, in UltimatePointer, L.L.C. v. Nintendo Co., 816 F.3d 816

(Fed. Cir. 2016), The Federal Circuit rejected the Defendant’s argument that the “generating data”

limitation made it unclear whether the claim was directed to a method or apparatus, and held rather

that “generating data” merely “reflects the capability of that structure rather than the activities of

the user.”. Likewise, Claim 17’s active verbs recite capability and do not require a user or human

intervention in order to infringe—rather, infringement occurs when the system was created. Here,

as in Mastermine, “[b]ecause the claims merely use permissible functional language to describe

the capabilities of the claimed system, it is clear that infringement occurs when one makes, uses,

offers to sell, or sells the claimed system.” Id. at 1316. Also, the language in Claim 17 is functional

despite the lack of “configured to” or other similar language. See 1-800-Flowers.com, 940 F.

Supp. 2d at 455.

       Even if the Court rejects Lone Star’s position on “viewer”, Claim 17 does not claim

activities performed by the user, but the claimed system’s capability to received and respond to

user selection. See Freeny v. Fossil Grp., Inc., No. 218CV00049JRGRSP, 2019 WL 2078783, at

*24 (E.D. Tex. May 10, 2019). Claim 17 describes the ability of the system to receive input from

a user and denotes the system’s response capabilities. Claim 17 is thus distinguishable from the

claims in IPXL requiring “the user uses the input means”. IPXL, 430 F.3d at 1384. Claim 17 is

also distinguishable from In re Katz requiring “wherein … callers provide … data.” In re Katz

Interactive Call Processing Patent Litig., 639 F.3d 1303, 1318 (Fed. Cir. 2011).

       Additionally, and as discussed in Mastermine, the functional language here does not appear

in isolation, as in Rembrandt, or at the end of the claim, as in IPXL, but is specifically tied to




PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                  18
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structure, i.e. the “master control device” is used “for selecting to independently change the hue or

the saturation of an individual color.” ‘435 Patent, Claim 17; see also Mastermine, 874 F.3d at

1315-16 (finding no indefiniteness because “[t]hough claim 8 includes active verbs – presents,

receives, and generates – these verbs represent permissible functional language used to describe

capabilities of the ‘reporting module’”); Rembrandt Data Techs., LP v. AOL, LLC, 641 F.3d 1331

(Fed. Cir. 2011).

       Finally, Defendants’ expert does not explain why Claim 17 does not describe the capability

of the system. Without addressing arguments beyond the limited IPXL holding, this testimony does

not satisfy Defendants’ burden to overcome the clear and convincing standard.              “[E]xpert

testimony may aid a court in understanding the underlying technology and determining the

particular meaning of a term in the pertinent field, but an expert’s conclusory, unsupported

assertions as to a term's definition are entirely unhelpful to a court. Perdiem Co, LLC v. IndusTrack

LLC, No. 2:15-CV-727-JRG-RSP, 2016 WL 3633627, at *3 (E.D. Tex. July 7, 2016).

       G.      “INPUT IMAGE PIXEL”

    Term to be Construed              Lone Star’s Proposed                Defendants’ Proposed
                                           Construction                        Construction
 “Input image pixel”               Plain and ordinary meaning        Image data including an integer
 ’435 Patent, Claims 1, 13, 14,                                      row, an integer column, and
 15, 16, 17, 29, 30, 31, 32.                                         color component values for each
                                                                     of red, green, and blue.


       Lone Star proposes a plain and ordinary meaning construction for this straightforward term.

“Input image pixel” is sufficiently clear such that no construction is necessary. Defendants, in

contrast, seeks to import a host of improper limitations into the claim that are unsupported by the

intrinsic evidence. Here, given the full context, Claim 1 recites:

               A method for independently controlling hue or saturation of individual colors in a
       real time digital video image, comprising the steps of:


PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                19
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                (a) receiving and characterizing the real time digital video input image featuring
        input image pixels;

        First, Defendants’ construction seeks to improperly import the limitation of “Image data.”

Defendants have no basis for this requirement, which does not appear in the intrinsic record.

Neither the claim language at issue, nor any of the language surrounding input image pixel,

references the word “Image data.” In fact, this phrase is not used anywhere in the ’435 Patent.

        Second, while the specification describes an “input image pixel” according to a row and

column with position indices, nothing in the specification confines an “input image pixel” to only

“integers” or “integer row” or “integer column.” ‘435 Patent, 6:58 – 67. In fact, the patent

specification describes an “input image pixel” to also include, for example, real numbers:




Id. The Court should not read “integer row” or “integer column” into the claims as there is no

evidence that patentee intended to limit the claims to this embodiment. This is further evidenced

by the statement that “[i]n general, indices i and j are real or integer.” Id. “[I]t is improper to read

limitations from a preferred embodiment described in the specification—even if it is the only

embodiment—into the claims absent a clear indication in the intrinsic record that the patentee

intended the claims to be so limited.” Medrad, 358 F.3d at 913.

        Additionally, Defendants’ proposed construction seeks to import a selective embodiment

into the claim language that improperly limits the invention to the RGB color space. “Particular

embodiments and examples appearing in the specification will not generally be read into the


PLAINTIFF’S OPENING CLAIM
CONSTRUCTION BRIEF                                                                                   20
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claims.” See Comark, 156 F.3d at 1187 (quoting Constant, 848 F.2d at 1571 ); see also Phillips,

415 F.3d at 1323. “[I]t is improper to read limitations from a preferred embodiment described in

the specification—even if it is the only embodiment—into the claims absent a clear indication in

the intrinsic record that the patentee intended the claims to be so limited.” Medrad, 358 F.3d at

913. Indeed, the specification describes several different color spaces, such as YCM or YUV:

       The method of the present invention is applicable to other formats of real time digital video
       images featuring colors or color components characterized by individual colors or color
       components in other types of color space, such as real time digital Video images featuring
       colors or color as components characterized by linear combinations of the basic colors
       yellow, cyan, and magenta, in YCM color Space, or, real time digital Video images
       featuring color components characterized by chromatic parts, Cr and Cb, or, U and V, in
       YCrCb or YUV luminance/chromatic color space, by applying appropriate linear
       transformations between the RGB color space and the YCM, or, the YCrCb or YUV
       luminance/chromatic color Space. Accordingly, the invention is capable of other
       embodiments or of being practiced or carried out in various ways. Also, it is to be
       understood that the phraseology and terminology employed herein are for the purpose of
       description and should not be regarded as limiting. ’435 Patent, 6:8-26.

Defendants’ addition of the clause “for each of Red, Green, or Blue” limitation would improperly

read out these disclosed embodiments. Defendants’ proposed construction seeks to limit the claim

language by requiring the “input image pixel” to reside in a specific format. The RGB color space

is a specific feature of particular disclosed embodiments that should not be imported into the

claims. See Comark, 156 F.3d at 1187; see also Phillips, 415 F.3d at 1323.

       Defendants’ proposed construction adds limitations to “input image pixel” that are

inconsistent with the specification and the plain and ordinary meaning should apply. Additionally,

Defendants have no intrinsic support for this construction and cannot point to a lexicographic

definition or disclaimer in the specification to justify adding these limitations. The Court should

reject Defendants’ construction and the term should be given its plain and ordinary meaning.

       H.      “FORMING  A CORRESPONDING PLURALITY OF OUTPUT IMAGE PIXELS HAVING
               SAID SELECTED INDIVIDUAL COLOR”




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CONSTRUCTION BRIEF                                                                               21
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    Term to be Construed           Lone Star’s Proposed               Defendants’ Proposed
                                        Construction                        Construction
 “Forming a corresponding        No construction necessary       Forming a plurality of output
 plurality of output image                                       image pixels that each
 pixels having said selected                                     correspond to one of the
 individual color”                                               plurality of input image pixels
 ’435 Patent, Claims 1 and 17.                                   that have said selected individual
                                                                 color in the real time digital
                                                                 video input image with the hue
                                                                 or the saturation selected to be
                                                                 independently changed, the
                                                                 output image pixels having said
                                                                 selected individual color.


       This term does not require construction as a jury would understand the plain language of

the limitation. In contrast, Defendants’ proposed construction does not provide meaningful

guidance to a jury and creates a series of redundancies adding confusion to the definitions. See

U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (claim construction is

“to clarify, and when necessary to explain what the patentee covered by the claims,” not to

introduce unhelpful or confusing language). These redundancies are illustrated by inserting

Defendants’ proposed construction in the remaining part of the claim:

       Claim 1(d) according to its plain and ordinary meaning:

       “forming a corresponding plurality of output image pixels having said selected individual
       color with the hue or the saturation selected to be independently changed”

       Claim 1(d) with Defendants’ proposed construction:

       [Forming a plurality of output image pixels that each correspond to one of the
       plurality of input image pixels that have said selected individual color in the real time
       digital video input image with the hue or the saturation selected to be independently
       changed, the output image pixels having said selected individual color] “with the hue
       or the saturation selected to be independently changed”

       The result of incorporating Defendants’ proposed construction is an incongruent claim

element that will not provide meaningful guidance to the Court or a jury.



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       Further, this term is used consistently in the specification with its plain and ordinary

meaning. For example, the specification of ’435 Patent states: “using the corresponding Selected

independent color hue control delta value, Hclr, or the corresponding selected independent color

saturation control delta value, Sclr, respectively, for forming a corresponding plurality of output

image pixels, O[s,t: Rout, Gout, Bout], having the individual color whose hue or saturation was

selected to be independently changed.” ’435 Patent, 12:2-8. The term requires no construction.

Defendants’ proposal is nothing more than an attempt to insert additional, unsupported, limitations

into the claims and should not be adopted.

       I.      “BY PERFORMING ARITHMETIC AND LOGICAL OPERATIONS”

    Term to be Construed             Lone Star’s Proposed               Defendants’ Proposed
                                         Construction                        Construction
 “By performing arithmetic        Not indefinite. Plain and        Indefinite as to whether this
 and logical operations”          ordinary meaning.                clause modifies “identifying,”
 ’435 Patent, Claims 1 and 17.                                     “changed,” or both terms,



       Defendants assert that this term is indefinite, however there is nothing indefinite about the

language of the claim. A claim is indefinite only if the claim, “read in light of the specification

delineating the patent, and the prosecution history, fail[s] to inform, with reasonable certainty,

those skilled in the art about the scope of the invention.” Nautilus, 572 U.S. at 901. Defendants

ignore the specification and misconstrue the syntax of the claim language. Indeed, the Stevenson

declaration omits instructive language of the claim and disregarding its full context. Exhibit 3,

Stevenson Dec. at 33.

       Read in its entirety, Claim 1 teaches: “identifying a plurality of said input image pixels

having said selected individual color in the real time digital video input image with the hue or the

saturation selected to be independently changed, by performing arithmetic and logical operations

using input image pixel values of each said input image pixel of the real time digital video input

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image.” In light of the entire claim phrase, “performing arithmetic and logical operations”

modifies “identifying.” In other words, the input image pixels are identified by performing

arithmetic and logical operations. The specification supports this proper interpretation of the claim

language. For example, the specification provides examples of “cases” where the hue or saturation

of an individual color was selected and using arithmetic and logical operations to identify the input

image pixels:




’435 Patent, 10:35-40. Specifically, the Gin is an input image pixel and identified using greater

than (>) logical and addition (+) arithmetic operations. Further, the specification provides the

following:

       More specifically, there is identifying a plurality of the input image pixels, I[i,j: Rin, Gin,
       Bin], in the real time digital video input, I, image having the individual color in the real
       time digital video input image whose hue or saturation was selected to be independently
       changed, by performing arithmetic and logical operations selected from the group
       consisting of addition, subtraction, multiplication, division, equal to, greater than, less
       than, absolute value of, and, combinations thereof, using input image pixel values, Rin,
       Gin, Bin, of each input image pixel, I[i,j: Rin, Gin, Bin], of the real time digital video
       input image. ’435 Patent, 9:41-62.

       Additionally, in the context of the “identifying” element, the end of column 9 describes the

mathematical operation of multiplication and goes on to say that “[i]t is emphasized that this Step

is for identifying only, and not for changing or affecting, input image pixels having the individual

color in the real time digital video input image whose hue or saturation was selected to be

independently changed.” ’435 Patent, 9:62-66 (emphasis added). The specification discloses that


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performing logical and arithmetic operations modifies identifying and also informs an ordinary

artisan what is required to perform arithmetic and logical operations to identify input image pixels.

“[T]he specification ‘is always highly relevant to the claim construction analysis. Usually, it is

dispositive; it is the single best guide to the meaning of a disputed term.’” Markman, 52 F.3d at

979.

         Stevenson’s declaration appears to overlook a clear disclosure in the specification, which

makes it clear which clause is modified by the term “by performing arithmetic and logical

operations.” Exhibit 3, Stevenson Dec. “[E]xpert testimony may aid a court in understanding the

underlying technology and determining the particular meaning of a term in the pertinent field, but

an expert's conclusory, unsupported assertions as to a term's definition are entirely unhelpful to a

court. Perdiem, 2016 WL 3633627, at *3. The Court should reject Defendants’ indefiniteness

argument.

         J.     “EVALUATING” AND “EVALUATED”

       Term to be Construed            Lone Star’s Proposed              Defendants’ Proposed
                                           Construction                       Construction
 “Evaluating” and “Evaluated”       Not indefinite. Plain and       Indefinite.
 ’435 Patent, Claims [1, 3, 4,      ordinary meaning.
 17, 19, and 20]


         Defendants allege the ’435 Patent is unclear as to the scope of the evaluation and this term

is therefore indefinite. Ex. 4 at 66:25-67:6. Defendants cannot prove clearly and convincingly

that the term is indefinite because the term plainly refers to the use of color control functions for

forming a corresponding plurality of output image pixels. A claim is indefinite only if the claim,

“read in light of the specification delineating the patent, and the prosecution history, fail[s] to

inform, with reasonable certainty, those skilled in the art about the scope of the invention.”

Nautilus, 572 U.S. at 901. This is consistent with the specification, which explains:


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       In case 1 of scenario (A), where the independent red hue control delta value, Hr, of Step
       (b), is not equal to zero, there is determining corresponding output image pixel values, Rout,
       Gout, Bout, for each of the plurality of input image pixels, I[i,j: Rin, Gin, Bin], identified as
       having red as the individual color in the real time digital video input image whose hue was
       selected to be independently changed, by separately evaluating independent red hue
       control functions Fh(red-hue), using the input image pixel values, Rin, Gin, Bin, of the
       plurality of input image pixels, I[i,j: Rin, Gin, Bin], identified as having red as the individual
       color in the real time digital video input image whose hue was selected to be independently
       changed, for forming a set of output image pixels, O[s,t: Rout, Gout, Bout], having red as the
       individual color whose hue was selected to be independently changed.

‘435 Patent, 13:39-53 (emphasis added). Here, the term is used to describe how this particular

embodiment evaluates the red hue color control functions.             The term is used consistently

throughout the specification to describe additional means of evaluating color control functions.

See, e.g., ’435 Patent, abstract, 11:41-55, 12:58-13:22,16:11-47, 20:5-38, 23:11-45, 25:16-55

(describing evaluating color controls in the context of specific formula and algorithm

embodiments). The ’435 specification describes an example of such an embodiment: “First, in

scenario (A), for independently controlling hue only of an individual color, there is described a

first generalized algorithm, featuring evaluating independent color hue control functions,

Fh(color-hue), applicable to the three particular cases corresponding to permutations” ’435 Patent,

Col. 12, Lns. 58 - 61. The specification proceeds to define an embodiment of the independent

color hue control functions, which are evaluated using input image pixel values and the selected

control delta values, for example:




Col. 13, Lns. 8 – 10.

The description in the specification is consistent with the claim language that provides:

       “(d) determining corresponding output image pixel values for each of said plurality of said
       input image pixels identified as having said selected individual color in the real time digital


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        video input image with the hue or the saturation selected to be independently changed, by
        separately evaluating independent color hue control functions or independent color
        saturation control functions, respectively, using said input image pixel values of said
        plurality of said input image pixels, and using corresponding said selected independent
        color hue control delta value or said corresponding selected independent color
        saturation control delta value, for forming a corresponding plurality of output image
        pixels having said selected individual color with the hue or the saturation selected to be
        independently changed.” ‘435 Patent, Claim 1(d).

The plain language of the claim and specification provide proper guidance for the term

“evaluating” and it is therefore not indefinite. “[T]he person of ordinary skill in the art is deemed

to read the claim term not only in the context of the particular claim in which the disputed term

appears, but in the context of the entire patent, including the specification.” Phillips, 415 F.3d at

1313.

        Defendants’ expert opines that “[a]s an example of how unhelpful the specification is

regarding this term, the term, as it is used in the claims, is repeated in the specification using the

same exact language as in the claims, with no further explanation.” Stevenson Decl. at 38.

Defendants’ extrinsic evidence does not rise to the level of clear and convincing standard, nor is

“unhelpful” the standard for indefiniteness. The definiteness requirement of 35 U.S.C. § 112

“mandates clarity, while recognizing that absolute precision is unattainable.” Nautilus, 572 U.S.

at 910. “The Supreme Court recognized that ‘some modicum of uncertainty’” is expected and that

“all that is required is that the patent apprise [persons of ordinary skill] of the scope of the

invention.” Freeny v. Apple Inc., No. 2:13-cv-00361-WCB, 2014 WL 4294505, at *5 (E.D. Tex.

Aug. 28, 2014) (quoting Nautilus, 572 U.S. at 910).

        Assuming the specification fails to explain evaluating (it does not), Defendants’ indefinite

argument still fails because definiteness of a term does not require that the specification explicitly

use or define a particular term or phrase. Courts in this district have repeatedly found that neither

is necessary for a claim to be definite. See, e.g., Chrimar Sys., Inc. v. Alcatel-Lucent USA, Inc.,


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No. 6:15-CV-163-JDL, 2016 WL 1237156, at *4 (E.D. Tex. Mar. 28, 2016) (finding that

“‘detection protocol’ can be understood by a person of ordinary skill in the art with reasonable

certainty in view” of the intrinsic evidence, even though the specification “does not use the terms

‘detection protocol’ or ‘protocol.’”); Personalized Media Commc’ns, LLC v. Apple, Inc., No. 2:15-

CV-01206-JRG-RSP, 2016 WL 6299860, at *16-18 (E.D. Tex. Oct. 26, 2016) (similar as to term

“varying timing lengths”); DataQuill Ltd. v. Huawei Techs. Co., No. 2:13-CV-633-JRG-RSP,

2015 WL 363994, at *16 (E.D. Tex. Jan. 27, 2015) (similar as to phrase “building up a code”). In

light of the plain language of the term, the surrounding claim language, and the disclosures in the

specification, the ordinary artisan would have at least reasonable certainty as to the meaning of

this term. See O2 Micro Intern. Ltd. v. Beyond Innovation Tech. Co., Ltd., 521 F.3d 1351, 1362

(Fed. Cir. 2008) (“[D]istrict courts are not (and should not be) required to construe every limitation

present in a patent’s asserted claims.”).

       Further, “evaluating” or “evaluated” is also objectively defined by its function: “evaluating

independent color hue control functions, or independent color saturation control functions.”

Function can “promote[ ] definiteness because it helps bound the scope of the claims by specifying

the operations that the [claimed invention] must undertake.” Cox Commc’ns, Inc. v. Sprint

Commc’n Co., 838 F.3d 1224, 1232 (Fed. Cir. 2016). An ordinary artisan would understand what

evaluating control functions is. This is an objective boundary well-defined by the method and

system’s capabilities and further defines the claim scope. Evicam Int’l, Inc. v. Enforcement Video,

LLC, No. 4:16-cv-105, 2016 WL 6470967, at *18-19 (E.D. Tex. 2016) (finding “the term ‘large’

is sufficiently clear from the context of the claims as referring to storage capacity that is at least

large enough to be useful for storing surveillance video”). The term “evaluating” or “evaluated”

is not indefinite and should be given its plain and ordinary meaning.




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                                     V.      CONCLUSION

       For the reasons set forth above, Lone Star respectfully requests that its proposed claim

constructions be adopted, and for such other and further relief to which it may show itself entitled.

Dated: April 22, 2020                                 Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify this document was filed electronically pursuant to Local Rule CV-5(a) on April

22, 2020. Pursuant to Local Rule CV-5(a), this electronic filing acts to electronically serve all

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